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    9
   10                      UNITED STATES DISTRICT COURT
   11        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   12
   13 NEMAN BROTHERS & ASSOC.,                     Case No. 2:20-cv-11181-CAS-JPRC
      INC., a California Corporation,
   14                                              REPLY OF INTERFOCUS INC. IN
                   Plaintiff,                      SUPPORT OF MOTION FOR:
   15
            v.                                     1) SUMMARY JUDGMENT ON
   16                                                 COPYRIGHT INFRINGEMENT
      INTERFOCUS, INC. d.b.a.                         CLAIMS IN PLAINTIFF’S
   17 www.patpat.com, a Delaware                      COMPLAINT; AND
      Corporation; CAN WANG, and
   18 individual, and DOES 1-10, inclusive.,       2) PARTIAL SUMMARY
                                                      JUDGMENT ON
   19              Defendants.                        COUNTERCLAIM;
                                                      MEMORANDUM OF POINTS
   20                                                 AND AUTHORITIES IN
      INTERFOCUS, INC. d.b.a.                         SUPPORT THEREOF
   21 www.patpat.com, a Delaware
      Corporation; CAN WANG, an
   22 individual, and DOES 1-10, inclusive,        Date: August 23, 2021
                                                   Time: 10:00 am
   23              Counterclaim Plaintiffs,        Courtroom: 8D
   24        v.                                    The Hon. Christina A. Snyder
   25 NEMAN BROTHERS & ASSOC.,
      INC., a California Corporation,
   26
                   Counterclaim Defendant.
   27
   28

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    1
                     MEMORANDUM OF POINTS AND AUTHORITIES
    2
        I.    INTRODUCTION.
    3
              Plaintiff opposes summary judgment with arguments that are unsupported by
    4
        the facts and contrary to applicable law. Plaintiff’s arguments should be rejected and
    5
        summary judgment should be entered against it on both Plaintiff’s Complaint and
    6
        Defendants’ Counterclaim for the reasons described below.
    7
    8 II.     PLAINTIFF’S PROPOSED INTERPRETATIONS OF THE PREVIOUS
    9         SETTLEMENT AGREEMENT SHOULD BE REJECTED.
   10         Plaintiff’s arguments that the previous settlement agreement does not bar it
   11 from pursuing copyright infringement claims it already released or contractually
   12 agreed InterFocus could cure without litigation lack merit and should be rejected for
   13 a number of reasons.
   14         A.     The Previous Settlement Agreement’s Plain Language Conclusively
                     Establishes Its Intent.
   15
              Of course, this Court should determine the intent of the parties in entering
   16
        into the previous settlement agreement to determine what they agreed. Cal. Civ.
   17
        Code. § 1636. How should it do that? “[T]he court must first attempt to discern the
   18
        parties' intent from the plain language of the contract.” Corbin Northridge LP v.
   19
        HBC Solutions, Inc., No. CV1402714RGKJCX, 2015 WL 12712292, at *2 (C.D.
   20
        Cal. Feb. 17, 2015), citing Flores v. American Seafoods Co., 335 F.3d 904, 910 (9th
   21
        Cir. 2003). This is so because “when the terms of a contract are clear, the intent of
   22
   23 the parties must be ascertained from the contract itself.” Doe 1 v. AOL LLC, 552
                         th
   24 F.3d 1077, 1081 (9 Cir. 2009). “[T]the best evidence of the parties’ intent is the
   25 plain language of the [contract].” Pension Trust Fund for Operating Engineers v.
                                         th
   26 Federal Ins. Co., 307 F.3d 944 (9 Cir. 2002)
   27          What does “cure” mean as used in the previous settlement agreement?

   28 “Cure” has a plain meaning articulated in twelve cases InterFocus’s motion cites but

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    1 Neman Brother’s opposition ignores. To “cure” a contractual liability or default
    2 means to place a contracting party in a pre-liability, pre-default position. Petersen v.
    3 Hartell, supra, 707 P.2d at 242. “In other words, cure will nullify all consequences
    4 of default.” In re Frazer, 377 B.R. 621, 630 (B.A.P. 9th Cir. 2007) (internal citations
    5 omitted). Plaintiff’s opposition does not even attempt to address this case law,
    6 which is fatal to its argument. Ignoring it, however, does not make it go away, or
    7 support denial of InterFocus’ motions.
    8         B.    Plaintiff’s Proposed “Avoiding Continuing Infringement”
                    Definition for “Cure” Is Meaningless.
    9
   10         Rather than address the plain meaning of “cure” in the above-described case
   11 law, Neman Brothers cites the Oxford Dictionary to propose that “cure” means to
   12 “relieve (a person or animal) of the symptoms of a disease or condition[,]” which
   13 Plaintiff argues means “only removing the issue of the on-going infringement” in
   14 this legal setting. (Opposition 3:28-4:4, Dkt No. 43.) Neman Brothers’ medical
   15 definition of “cure” does not support the inapt analogy it draws from it. To properly
   16 analogize from Neman Brothers’ definition, InterFocus is the “person” and alleged
   17 copyright infringement liability is the “disease” that the previous settlement
   18 agreement allows InterFocus to “cure.” Curing InterFocus of the “disease” of
   19 alleged copyright infringement liability would mean to “relieve [it] from the
   20 symptoms of” its alleged copyright infringement liability, that is, relieve it from
   21 legal liability for alleged copyright infringement. It does not mean, as Plaintiff
   22 appears to argue, to simply stop InterFocus’ “disease” [i.e., copyright infringement
   23 liability] from progressing, or to interrupt that disease for a period so InterFocus
   24 can suffer from it again later. That would at most be a “treatment,“ not a “cure.”
   25 See “’Treatment’ vs. ‘Cure,’” https://www.merriam-webster.com/words-at-
   26 play/treatment-vs-cure-difference. That is why, when using “cure” in this legal
   27 setting, all of the case law InterFocus has cited but Plaintiff ignores holds that
   28 “cure” means to eliminate the consequences of the liabilities or defaults they

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    1 address, rather than just limit or postpone them as Plaintiff advocates.
    2         Further, accepting Neman Brothers’ argument that the notice and cure
    3 provision “means only removing the issue of the on-going infringement” makes
    4 “cure” meaningless. An alleged infringer can always “remove the issue of on-going
    5 infringement” by stopping sales of allegedly infringing goods. One does not need a
    6 “cure” provision to do that. Having a notice and cure provision adds nothing to that
    7 ability, and according to Neman Brothers’ definition, adds nothing to the contract.
    8 Accepting Neman Brothers’ definition, therefore, effectively nullifies and writes the
    9 “notice and cure” provision out of the previous settlement agreement.
   10         That may be what Neman Brothers wants, but it is not what California law
   11 requires. California law does not permit interpretations that eliminate parts of a
   12 contract. Instead, “[t]he whole of a contract is to be taken together, so as to give
   13 effect to every part.” Cal. Civ. Code § 1641. A contract must be construed to give
   14 force and effect to every word in every clause in an agreement under California law,
   15 so that no word or clause is made redundant. Mudpie, Inc. v. Travelers Casualty
   16 Insurance Company of America, 487 F. Supp. 3d 834, 839 (N.D. Cal. 2020), citing
   17 Total Intermodal Services Inc. v. Travelers Property Casualty Company of America,
   18 No. CV 17-04908 AB (KSX), 2018 WL 3829767, at *3, (C.D. Cal. July 11, 2018)
   19 (contract construed to give meaning to the word “loss” in insurance agreement).
   20 The only way to give meaning to “cure” in the previous settlement agreement is to
   21 give it the plain meaning articulated in the extensive California and other case law
   22 referenced above, which is that “cure” means to “nullify all consequences of
   23 default.” In re Frazer, 377 B.R. 621, 630 (B.A.P. 9th Cir. 2007).
   24         C.    Alleged Post-Agreement Conduct Cannot Create an Ambiguity in
   25               the Plain Language of Previous Settlement Agreement.

   26         Neman Brothers’ lengthy argument that post-agreement conduct creates an

   27 ambiguity as to the meaning of “cure” in the previous settlement agreement
   28 (Opposition 5:19-9:2) cannot create an ambiguity as a matter of law, for two

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    1 reasons.
    2         First, post-agreement conduct cannot create an ambiguity when, as here, none
    3 exists in the language of the settlement agreement itself. “The language of a
    4 contract is to govern its interpretation, if the language is clear and explicit…” Cal
    5 Civ, Code. § 1638. “An agreement is not ambiguous merely because the parties (or
    6 judges) disagree about its meaning. Taken in context, words still matter. As Justice
    7 Baxter has pointed out, ‘written agreements whose language appears clear in the
    8 context of the parties' dispute are not open to claims of ‘latent’ ambiguity.”
    9 Alameda Cty. Flood Control & Water Conservation Dist. v. Dep't of Water Res.,
   10 213 Cal. App. 4th 1163, 1188-89 (2013) (italics in original.)
   11         Extrinsic evidence can only be introduced to clarify an ambiguity that is
   12 already present in contractual language. (Id.) Post agreement conduct cannot create
   13 an ambiguity when the contract’s language is clear. Leines v. Homeland Vinyl
   14 Products, Inc., No. 2:18-CV-00969-KJM-DB, 2020 WL 4194054, at *7 (E.D. Cal.
   15 July 21, 2020) (rejecting argument that “actions speak louder than words” and
   16 contractual intent should be determined from post-agreement conduct, because such
   17 an argument “calls for a modification after the fact, not for clarification of an
   18 ambiguity the court cannot find with the four corners of the parties’ agreement.”)
   19 Here there is no ambiguity in the plain meaning of “cure” in the previous settlement
   20 agreement, and its language governs.
   21         Second, the post-suit conduct Neman Brothers mischaracterizes, namely the
   22 parties’ unsuccessful negotiations about an overall license, does not imply an
   23 ambiguity on the merits. Those post-suit settlement negotiations are inadmissible
   24 pursuant to Fed R. Evid. 408, but they also are fully consistent with the “notice and
   25 cure” provisions in the previous settlement agreement. They simply describe the
   26 parties’ efforts to see if a prospective license for all of Neman Brothers’ alleged
   27 copyrights could be worked out. Such a license would, for example, have
   28 eliminated the need for InterFocus to worry about future copyright infringement

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    1 claims from Neman Brothers, or evaluate whether it needed to “cure” alleged
    2 infringements and stop selling allegedly infringing merchandise in the future. Such a
    3 license would have relieved InterFocus of the need, for example, to decide whether
    4 to stop selling a potentially popular and profitable garments if Neman Brother’s
    5 made a copyright infringement claim that Neman Brothers believed lacked merit.
    6 And in fact, InterFocus eventually declined to enter into such a license because it
    7 believed Neman Brothers’ monetary demands greatly exceeded the value of the
    8 license it was offering. (See Reply Lee Decl.     and Ex. 1 thereto.) Such
    9 negotiations have nothing to do with and do not support Neman Brothers’ argument
   10 that the “cure” provision has no meaning.
   11         D.     Sections 5 and 6 Are Consistent with the Plain Meaning of the
                     “Notice and Cure” Provision in the Previous Settlement
   12                Agreement.
   13         Sections 5 and 6 of the previous settlement agreement Plaintiff cites (Opp. 4)
   14 also are fully consistent with the well-understood meaning of “cure” as used in the
   15 settlement agreement. Section 5’s language providing 30 days for the parties to
   16 amicably “resolve the dispute” between them does not affect the meaning of “cure”
   17 in that same section, as that section does not require InterFocus to “cure” any
   18 alleged infringement after Neman Brothers claims infringement. InterFocus might
   19 choose not to “cure” an alleged infringement if, for example, it did not believe the
   20
        disputed goods were infringing and it wanted to continue selling highly profitable
   21
        garments for business reasons as described above. If InterFocus chose not to “cure”
   22
        an alleged infringement because it believed it was not infringing and that it was in
   23
        its business interest to continue selling such goods, under the cited language,
   24
        Neman Brothers could not file suit for 30 days, so that the parties could try to
   25
        amicably resolve their dispute without resort to litigation by, for example,
   26
        negotiating a license fee for such sales as contemplated in Section 6 of the previous
   27
        settlement agreement. That does not deprive InterFocus of its contractual right to
   28

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     1 “cure” an alleged infringement if it chose to do so, as clearly laid out earlier in
     2 Section 5, and as widely acknowledged in the case law.
     3         Similarly, Section 6 of the previous settlement agreement cannot and does not
     4 purport to erase the “notice and cure” provisions from the previous settlement
     5 agreement. It merely requires the parties to engage in good faith negotiations to
     6 settle future disputes, such as, for example, by entering into future license
     7 agreements. It thus recognizes that disputes could arise about whether alleged future
     8 infringements were actually infringing, and whether InterFocus wished to continue
     9 sales of goods Neman Brothers claimed were infringing for its own business
   10 reasons. It provides for future negotiations to address such issues, and in fact the
   11 parties engaged in such good faith negotiations as described below. However,
   12 Section 6 does not take away InterFocus’ right to “cure” alleged infringements
   13 should it wish to do so, as it is permitted to do under the plain language of Section 5
   14 of the PSA.
   15          Neman Brothers’ related argument that paragraphs 5 and 6 of the previous
   16 settlement agreement recognize that “disputes remain” after the seven-day cure
   17 period (Opp. 3:58:12) mischaracterizes the agreement and the “cure” provision’s
   18 presence in it. The presence of the “cure” provision does not automatically eliminate
   19 all disputes. Disputes could remain if, for example, InterFocus chose not to exercise
   20 its right to cure for its own business reasons as described above, or the parties
   21 disputed whether InterFocus had, in fact, timely exercised it “cure” rights.
   22          The language of Sections 5 and 6 Neman Brothers cites lay out procedures to
   23 engage in good faith negotiations to try and resolve such disputes without litigation.
   24 That is what the plain language of all of those provisions contemplate and is the
   25 only way to give meaning to all of those provisions. The presence of such clear and
   26 consistent language does not create an ambiguity or write the “cure” provision out
   27 of the previous settlement agreement.
   28

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     1         E.     Neman Brothers’ Request for This Court to “Transpose” or
                      “Reject” the “Cure” Provision in the Previous Settlement
     2                Agreement Itself Must be Rejected.
     3         Impliedly recognizing that “cure” in the previous settlement agreement means
     4 what InterFocus says it does, Neman Brothers’ cites an almost 70 year old decision,
     5 Heidlebaugh v. Miller, 126 Cal. App. 2d 35, 271 P.2d 567 (1954), to ask this Court
     6 to “transpose,” “reject,” or “supply different language” to eliminate the cure
     7 provision from the previous settlement agreement. (Opp. 11:20-23.) That argument
     8 must be rejected for obvious reasons.
     9       Most fundamentally, California law does not permit courts to simply add or
   10
         subtract provisions from contracts, and Heidlebaugh does not hold that it does. It
   11
         merely corrected an obvious typographical error in an agreement to avoid an
   12
         absurdity. As another judge in this district explained in rejecting the same argument
   13
         Neman Brothers makes here, “[i]n Heidlebaugh…the court noted that the phrase
   14
         ’with or with notice’ in a contract which, in other section read ‘with or without
   15
         notice,’ led to an unreasonable result. Therefore the court interpreted the phrase as
   16
         ‘with or without notice.’ Id at 40. The Heidelbaugh court was correcting an obvious
   17
         typographical mistake in the contract, a far different case from the present, where
   18
         [one contracting party] is asking the court to ignore the entire section of the
   19
         contract…” In re Passenger Computer Reservations Systems Antitrust Litigation,
   20
         724 F. Supp. 744, 749-750 (C.D. Cal. 1989).
   21
               Neman Brothers is asking this Court to do precisely what the In re Passenger
   22
         case says it should not do. Here, there was no “obvious typographical mistake,” nor
   23
         an inadvertent omission of language in the notice and cure provision that was used
   24
         elsewhere in the previous settlement agreement. To the contrary, there was
   25
         purposeful inclusion of a notice and cure provision in the previous settlement
   26
         agreement, which was reached by sophisticated parties represented by legal counsel.
   27
         Neman Brothers cannot rewrite the previous settlement agreement, or properly ask
   28

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     1 this Court to ignore the plain meaning of the “cure” provision in the contract to do
     2 so because, in retrospect, it does not like what it plainly agreed to do. California law
     3 requires that the previous settlement agreement be interpreted to give meaning to
     4 every word in it as described above, including the word “cure.”
     5        F.     Neman Brothers “Copyright Forfeiture” Argument is Meritless.
     6        Neman Brothers’ argument that the “notice and cure” provision should not be
     7 enforced because it is “an improper attempt to forfeit Neman Brothers’ copyrights”
     8 Opp. 12:20-28) lacks merit because that provision does not work a “forfeiture” as a
    9 matter of law. Forfeiture means “1. The divestiture of property without
   10 compensation 2. The loss of a right, privilege, or property because of a crime,
   11 breach of obligation or neglect of duty. Title is instantaneously transferred to
   12 another…” In re Art and Architecture Books of the 21st Century, 518 B.R. 43, 57
   13 (C.D. Cal. 2014), citing Black’s Law Dictionary.
   14       Here, nothing in the notice and cure provision causes Neman Brothers to
   15 “forfeit its copyrights.” The notice and cure provision does not divest Neman
   16 Brothers of title to its copyrights, “instantaneously” or otherwise. It does not cause
   17 Neman Brothers to lose title “without compensation.” It does not cause Neman
   18 Brothers to lose “a right, privilege, or property.” To the contrary, under the notice
   19 and cure provision, Neman Brothers at all times retains title to its copyrights, retains
   20 the right to sue InterFocus for copyright infringement if InterFocus elects not to cure
   21 the alleged infringement, and retains the right to complain about future alleged
   22 infringements of those same copyrights by sending a proper written notice to
   23 InterFocus. (PSA Section 5, Dkt. Nos. 35-4 and 35-5.) Neman Brothers instead
   24 contractually agreed to a “notice and cure” provision for 1) monetary consideration;
   25 2) InterFocus’ agreement not to continue to defend against Neman Brothers
   26 previous disputed claims, and 3) InterFocus’ agreement to release Neman Brothers
   27 from liability for pursuing those previous claims. Such provisions have nothing to
   28 do with “forfeiture” and the statutes and case law discussing it.

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     1        G.    Neman Brothers’ “Material Breach” and “Repudiation”
                    Arguments Lack Merit.
     2
     3        Neman Brother’s arguments that InterFocus’ “refusal” to agree to pay the
     4 license fee Neman Brothers demanded in post-agreement negotiations constitutes a
     5 “material breach” and “repudiation” of the previous settlement agreement that
     6 relieves Neman Brothers of its “notice and cure” obligations (Opp. 13:12-14) lacks
     7 merit for several reasons.
     8        First, failing to agree to a license on terms Neman Brothers demanded cannot
    9 be a “material breach” or “repudiation” of the previous settlement agreement,
   10 because the previous settlement agreement could and did not require that InterFocus
   11 agree to a future license on undisclosed terms as a matter of law. “No naked
   12 agreement to agree constitutes a contract.” Genesis 1 Oil Services LLC v. Wismann
   13 Grp, LLC, No. 820CV02114JLSADS , 2021 WL 1110594, *6 (C.D. Cal March 23,
   14 2021), citing Cable & Computer Tech. Inc. v. Lockheed Sanders, Inc., 214 F.3d
   15 1030, 1035 (9th Cir. 2000). “[N]either law nor equity provides a remedy for breach
   16 of an agreement to agree in the future.” Autry v. Republic Prods., 30 Cal. 2d 144,
   17 151, 180 P. 2d 888, 893 (1947). InterFocus’ failure to agree to a future license thus
   18 is not only not a “material breach” of the previous settlement agreement, itis not a
   19 breach at all.
   20        Second, the PSA only requires “[t]the parties …to make good faith efforts to
   21 settle all future disputes (if any)” by, “optionally[,]” entering “into commercially
   22 feasible transactions, such as a license agreement…” PSA Section 6, Dkt. Nos. 35-4
   23 and 35-5.). InterFocus in fact did negotiate with Neman Brothers extensively about
   24
      a blanket license, as Neman Brothers admits (see Neman Exs. 32- 37, Dkt. Nos. 42-
   25
      34through 42-39), and InterFocus did not ultimately agree only because it viewed
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      the license fee Neman Brothers demanded as unreasonable, if not extortionate. (See
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      Reply Lee Decl. ¶ 5 and Ex. 1 thereto.) InterFocus’ negotiations thus fully
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     1 complied with Section 6 of the PSA, rather than “materially breached” or
     2 “repudiated” it.1
     3         Second, alleged “material breach” or “repudiation” of an agreement does not
     4 eliminate the other contracting party’s obligation to comply with the “notice and
     5 cure” provision of an agreement, as case law InterFocus cited in its motion affirms.
     6 See, e.g., Alliance Metal, Inc of Atlanta v. Hinely Industries, Inc., 222 F.3d 895, 903
     7 (11th Cir. 2000) (rejecting argument that material breach excused non-compliance
     8 with notice and cure provision, because doing so would “effectively render
     9 meaningless contractual ‘notice and cure’ requirements like the one included in the
   10 …provision here’.
   11          H.    One Step Up Does Not Address “Different Issues.”
   12          Neman Brothers’ argument that Neman Brothers & Assoc., Inc. v. One Step
   13 Up Ltd., No. 2:17-CV-06400-RGK-SS, 2017 WL 6885390, at *3 (C.D. Cal. Dec.
   14 13, 2017), does not apply here because it alleges post-release infringement (Opp.
   15 15) ignores InterFocus’ argument and the undisputed facts that support it. As
   16 Interfocus has repeatedly explained, it stopped sales of three allegedly infringing
   17 garments in 2019, before the parties entered into the previous settlement agreement
   18 in March of 2020. (Motion Le Decl. ¶ 10, Dkt. No. 35-1, Opp. Le Decl. ¶ 4, Dkt.
   19 No. 46-1.) Neman Brothers’ original and amended complaints nevertheless
   20 continue seek to allege copyright infringement based on sales of those three released
   21 garments. (See Ex. 6 to both the original and amended complaints, Dkt. Nos. 1 and
   22 10.)
   23          Since it is not disputed that InterFocus did not sell those three garments after
   24
         1
   25  It is even more obviously not a “repudiation” of the previous settlement agreement.
      “Repudiation” is a “refusal to perform …the whole contract… and must be distinct,
   26 unequivocal and absolute.” Taylor v. Johnston, 15 Cal. 3d 130, 539 P. 2d 425, 432
   27 (Cal. 1975) Failure to reach a future agreement pursuant to an unenforceable
      “agreement to agree” does not even approach a “refusal to perform the whole
   28 contract” as needed to constitute repudiation.

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     1 entry into the previous settlement agreement, it cannot be liable for copyright
     2 infringement in connection with sales of those garments, because Neman Brothers
     3 released InterFocus from liability for those claims, and they were dismissed with
     4 prejudice. That is precisely what the One Step Up summary judgment against
     5 Neman Brothers hold, and precisely why that decision directly applies here. Neman
     6 Brothers & Assoc., Inc. v. One Step Up Ltd., No. 2:17-CV-06400-RGK-SS, 2017
     7 WL 6885390, at *3 (C.D. Cal. Dec. 13, 2017); Sirisup v. It’s Thai, L.L.C., No.
     8 CV1307246DDPPJWX, 2015 WL 6181688, at *5 (C.D. Cal. Oct. 21, 2015). There
     9 are no “different issues.”
   10 III.    CONCLUSION
   11         InterFocus’ motion for summary judgment on the copyright infringement
   12 claims in Plaintiff’s complaint, and partial summary judgment on its breach of
   13 contract counterclaim, should be granted for all of the reasons set forth in its moving
   14 papers and above.
   15                                            RIMON, P.C.
   16 Dated: August 9, 2021
   17                                        By: /s/ Mark S. Lee
   18                                            Mark S. Lee
                                                 Zheng Liu
   19
                                                 Attorneys for Defendants and
   20                                            Counterclaim Plaintiffs
   21                                            INTERFOCUS, INC. d.b.a.
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